       Case 1:22-cr-00015-APM           Document 937        Filed 01/23/25     Page 1 of 3



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                       v.                                  No. 22-cr-15 (APM)

   EDWARD VALLEJO,
                                 Defendant.


     CONSENT MOTION TO MODIFY CONDITIONS OF SUPERVISED RELEASE

       Pursuant to 18 U.S.C. § 3583(e) and Fed. Crim. P. Rule 32.1(c)(2), Defendant Edward

Vallejo respectfully requests that the conditions of his supervised release be modified to remove

the requirement of home detention with location monitoring. The government consents to this

modification. In support of this motion, Mr. Vallejo states as follows:

       1.      On June 1, 2023, the Court sentenced Mr. Vallejo to concurrent terms of 36 months

followed by 36 months of supervised release. Dkt. 650. The Court directed that the first 12 months

of supervised release shall be spent on home confinement with location monitoring. Id. at 7.

       2.      Mr. Vallejo served the majority of his custodial sentence and was expected to begin

the period of home confinement about 48 days after the President’s inauguration.

       3.      On January 20, 2025, the incoming President issued an executive order commuting

the sentences of Mr. Vallejo and his co-defendants to time-served while pardoning other January 6

defendants. Executive Proclamation, Granting Pardons and Commutation of Sentences for Certain

Offenses Relating to the Events at or Near the United States Capitol on January 6, 2021, available

at https://www.whitehouse.gov/presidential-actions/2025/01/granting-pardons-and-commutation-

of-sentences-for-certain-offenses-relating-to-the-events-at-or-near-the-united-states-capitol-on-

january-6-2021. Pursuant to the President’s Order, the Bureau of Prisons has released or begun

                                                 1
       Case 1:22-cr-00015-APM            Document 937         Filed 01/23/25      Page 2 of 3



releasing defendants in this case, including Stewart Rhodes and Kelly Meggs. See ABC News, Oath

Keepers, Proud Boys leaders out of prison after Trump Jan. 6 pardons, available at

https://abcnews.go.com/Politics/oath-keepers-proud-boys-leaders-prison-after-trump/story?id=11

7940370 (Jan. 21, 2025).

       4.      Mr. Vallejo has likewise been released. However, he was instructed by his

supervising probation officer that the officer is not sure whether Mr. Vallejo will need to be outfitted

with GPS monitoring and remain on home confinement pursuant to the terms of his original

judgment. Mr. Vallejo and his probation officer are thus in a state of limbo following the President’s

Order, necessitating prompt intervention by the Court.

       5.      Several of Mr. Vallejo’s co-defendants in this case, including Messrs. Rhodes and

Meggs, received significantly lengthier sentences based on the Court’s assessment of their role in

the offense. However, these co-defendants were not subjected to home confinement during their

term of supervised release.

       6.      Given this disparity, Mr. Vallejo’s period of home confinement presumably reflects

an intent by the Court to mitigate the overall harshness of confinement as part of an integrated

custodial sentence—essentially sentencing Mr. Vallejo to four years of incarceration with the last

year being spent in home confinement—rather than a judgment that Mr. Vallejo poses greater risks

to the public on supervised release than Messrs. Rhodes and Meggs.

       7.      If so, by fashioning the sentence in this manner, the Court may have inadvertently

created a situation in which the last year of this hybrid sentence may have been unintentionally

unaffected by the President’s commutation (if it is interpreted as not including supervised release),

while the lengthy (and largely unserved) periods of imprisonment imposed on Messrs. Rhodes and




                                                   2
       Case 1:22-cr-00015-APM           Document 937         Filed 01/23/25      Page 3 of 3



Meggs are fully terminated. This would mean that Mr. Vallejo would be subject to an additional

year of home confinement following the President’s Order, while his co-defendants are now free.1

       8.      Such unwarranted sentencing disparities among defendants is a factor supporting

modification under 18 U.S.C. § 3353(a)(6), as incorporated in the supervised release statute,

§ 3583(e).

       9.      Pursuant to Fed. R. Crim. P. 32.1(c)(2), no hearing is required to enter this

modification, since the government consents to the modification and it is favorable to the defendant.

       WHEREFORE for the foregoing reasons, Mr. Vallejo respectfully requests that the Court

remove the requirement of twelve months of home confinement with location monitoring from his

supervised release conditions.



January 23, 2025                                      Respectfully submitted,


                                                      ________________________________
                                                      Matthew J. Peed (D.C. Bar No. 503328)
                                                      CLINTON & PEED
                                                      1775 I St. NW, Suite 1150
                                                      Washington, D.C. 20006
                                                      (202) 919-9491 (tel)
                                                      (202) 587-5610 (fax)

                                                      Counsel for Defendant Edward Vallejo




1
  Mr. Vallejo is in the process of evaluating the full meaning of the President’s Order and its
implications for his supervised release and indictment and may seek additional clarification or relief
from the government and Court.
                                                  3
